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JS 44(Rev. 11/04)


                                                                                 CIVIL COVER SHEET
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as proved by local
rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket
sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM).

I (a) PLAINTIFFS                                                                                                    DEFENDANTS
Azotic Coating Technology, Inc., a Minnesota Corporation                                                           Signity Americas, Limited, a Delaware Corporation, and Richard Pollak, an
                                                                                                                   individual




(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF Olmsted County,                                                  )COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT Travis County, Texas
Minnesota                                                                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT
                                                                                                                          OF LAND INVOLVED

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                                                           )ATTORNEYS (IF KNOWN)                          **See Reverse Side for Additional Information**
Darren B. Schwiebert                                     Phone: (612) 492-7000
Molly O’Brien Loussaert
FREDRIKSON & BYRON, P.A.
200 Sixth Street South, Suite 4000
Minneapolis, MN 55402-1425




II. BASIS OF JURISDICTION                                        (PLACE AN X IN ONE BOX ONLY)              III. CITIZENSHIP OF PRINCIPAL PARTIES                                                     (PLACE AN X IN ONE BOX
                                                                                                                                                                                  FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                                 (For Diversity Cases Only)
                                                                                                                                    PTF DEF                                                                     PTF       DEF
    1 U.S. Government                           3 Federal Question                                         Citizen of This State       1    1                      Incorporated or Principal Place                4         4
      Plaintiff                                  (U.S. Government Not a Party)                                                                                       of Business In This State
                                                                                                           Citizen of Another State                2    2          Incorporated and Principal Place                  5           5
    2 U.S. Government                           4 Diversity
                                                                                                                                                                     of Business In Another State
      Defendant                                    (Indicate Citizenship of
                                                      Parties in Items III)                                Citizen or Subject of a                 3    3          Foreign Nation                                    6           6
                                                                                                            Foreign Country
IV. NATURE OF SUIT (PLACE AN X IN ONE BOX ONLY)
         CONTRACT                                                     TORTS                                       FORFEITURE/PENALTY                              BANKRUPTCY                     OTHER STATUTES
  110   Insurance                        PERSONAL INJURY               PERSONAL INJURY                              610   Agriculture                                                           400   State Reapportionment
                                                                                                                                                            422   Appeal 28 USC 158
  120   Marine                                                                                                      620   Other Food & Drug                                                     410   Antitrust
                                       310   Airplane                     362   Personal Injury -
  130   Miller Act                                                              Med. Malpractice                    625   Drug Related Seizure                                                  430   Banks and Banking
                                       315   Airplane Product                                                                                               423    Withdrawal
  140   Negotiable Instrument                                                                                             of Property 21
                                             Liability                    365   Personal Injury -                                                                  28 USC 157                   450   Commerce/ICC Rates/etc
                                                                                                                          USC 881
  150   Recovery of Overpayment        320   Assault, Libel &                   Product Liability
                                                                                                                    630   Liquor Laws                                                           460   Deportation
        & Law Enforcement of                 Slander                      368   Asbestos Personal
        Judgment                                                                Injury Product Liability            640   R.R. & Truck                      PROPERTY RIGHTS                     470   Racketeer Influenced and
                                       330   Federal Employers’                                                                                                                                       Corrupt Organizations
  151   Medicare Act                         Liability                                                              650   Airline Regs.                     820   Copyrights
                                                                       PERSONAL INJURY                                                                                                          480   Consumer Credit
  152   Recovery of Defaulted          340   Marine                                                                 660   Occupational                      830   Patent
                                                                          370   Other Fraud                                                                                                     490   Cable/Sat TV
        Student Loans                                                                                                     Safety/Health
                                       345   Marine Product                                                                                                 840   Trademark                     810   Selective Service
        (Excl. Veterans)                                                  371   Truth in Lending                    690   Other
                                             Liability
  153   Recovery of Overpayment of                                                                                                                                                              850   Securities/Commodities/
                                       350   Motor Vehicle                380   Other Personal
        Veteran’s Benefits                                                      Property Damage                               LABOR                         SOCIAL SECURITY                           Exchange
  160   Stockholders’ Suits            355   Motor Vehicle
                                                                                                                                                            861   HIA (1395ff)                  875   Customer Challenge
                                             Product Liability            385   Property Damage                     710   Fair Labor Standards
  190   Other Contract                                                                                                                                      862   Black Lung (923)                    12 USC 3410
                                       360   Other Personal Injury              Product Liability                         Act
  195   Contract Product Liability                                                                                                                                                              890   Other Statutory Actions
                                                                                                                    720   Labor/Mgmt. Relations             863   DIWC/DIWW (405(g))            891   Agricultural Acts
    REAL PROPERTY                        CIVIL RIGHTS                   PRISONER PETITIONS                                                                  864   SSID Title XVI                892   Economic Stabilization Act
                                       441   Voting                       510 Motions to Vacate                     730   Labor/Mgmt. Report-
  210   Land Condemnation                                                     Sentence                                    ing & Disclosure Act              865    RSI (405(g))                 893   Environmental Matters
                                       442   Employment
  220   Foreclosure                                                    HABEAS CORPUS:                               740   Railway Labor Act                                                     894   Energy Allocation Act
                                       443   Housing/
                                                                         530 General
                                                                                                                                                        FEDERAL TAX SUITS                       895   Freedom of Information Act
  230   Rent Lease & Ejectment               Accommodations
  240   Torts to Land                  444   Welfare                     535 Death Penalty                          790   Other Labor Litigation            870   Taxes (U.S. Plaintiff         900   Appeal of Fee Determination
                                                                         540 Mandamus & Other                                                                     or Defendant)                       Under Equal Access to Justice
  245   Tort Product Liability         445   Amer. w/ Disabilities
                                             Employment                  550 Civil Rights                           791   Empl. Ret. Inc.                   871   IRS - Third Party             950   Constitutionality of State
  290   All Other Real Property                                                                                                                                                                       Statutes
                                                                                                                          Security Act                            26 USC 7609
                                       460   Amer. w/ Disabilities       555 Prison Condition
                                             Other
                                       440   Other Civil Rights

V. ORIGIN                                                            (PLACE AN X IN ONE BOX ONLY)
                                                                                                                                 Transferred from                                               Appeal to District
     Original                       Removed from                Remanded from                      Reinstated or                 another district                      Multidistrict            Judge from
   1 Proceeding                   2 State Court               3 Appellate Court                  4 Reopened                    5 (specify)                           6 Litigation             7 Magistrate Judgment
                                                    (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING (DO NOT CITE JURISDICTIONAL UNLESS DIVERSITY):
VI. CAUSE OF ACTION                                 Brief description of cause:

This is an action for a declaration of noninfringement of two United States Patents under 28 U.S.C. §§ 2201, 2202 and
Fed. R. Civ. P. 57.

VII. REQUESTED IN                                                                                                           DEMAND $                        CHECK YES only if demanded in complaint:
                                                         CHECK IF THIS IS A                  CLASS ACTION                   injunction and money
     COMPLAINT:                                          UNDER F.R.C.P. 23                                                  damages                         JURY DEMAND:                         YES          NO

VIII. RELATED                                           (See instructions):
     CASE(S) IF ANY                                                                    JUDGE                                                           DOCKET NUMBER
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DATE                                         SIGNATURE OF ATTORNEY OF RECORD
       August 21, 2007
                                                    s/ Molly O'Brien Loussaert
FOR OFFICE USE ONLY
RECEIPT#___________ AMOUNT__________ APPLYING IFP__________ JUDGE___________________ MAG. JUDGE__________________
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              INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-44
                                                           Authority For Civil Cover Sheet
         The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in
September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
I. (a) Plaintiffs - Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,
use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.
(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved).
(c) Attorneys. Enter firm name, address, telephone number, and attorney or record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II. Jurisdiction. The basis of jurisdiction is set forth under Rule 8 (a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an
“X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction is based on 28 U.S.C. 1345 and 1348. Suites by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, it s officers or agencies, place an X in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, and act of Congress or a treaty of the United States. IN cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III. Residence (citizenship) of Principal Parties. This section of the JS-44 is to be completed if diversity of citizenship was indicated above. Mark
this section for each principal party.
IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section IV above,
is sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.
V. Origin. Place an “X in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Doe not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) check this box for an appeal from a magistrate’s decision.
VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
jurisdictional statutes unless diversity.     Example: U.S. Civil Statute: 47 U.S.C. 553
                                              Brief Description: Unauthorized reception of cable service
VII. Requested in Complaint. Class Action. Place and “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicated other demand such as preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS-44 is used to reference relating pending cases if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
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